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 %A0 245D       (Rev. 12/03) Judgment in a Criminal Case far Revocations
                Sheet I




                         SOUTHERN                                     District of                                   ILLINOIS

          UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                               v.                                            (For Revocation of Probation or Supervised Release)
                    ERIC E. BURNETT
                                                                             Case Number:
                                                                             USM Number: 05305-025
                                                                              Melissa Day, FPD
                                                                             Defendant's Attorney
  THE DEFENDANT:
$ i admitted guilt to violation of condition(s) as alleged in petition                         of the term of sup
     was found in violation of condition(s)                                                after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                  Nature of Violation                                                                 Violation Ended
 Standard                          The defendant failed to make monthly payments toward fine                           11/30/2006


 Standard # 3                       The defendant associated with individuals without consent                          11/29/2006


       The defendant is sentenced as provided in pages 2 through                    5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                        and is discharged as to such violation(s) condition.


                                                          7'
          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untl all fines, restihltion, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic cucumstances.

Defendant's Sac. Sec. No.:     999-99-301 5                                  3/7/2007
                                                                             Date of Imposition_ofJudgment
Defendant's Date of Birth:     412811982


Defendant's Residence Address:

 Mt. Vernon, IL 62864
                                                                              J. Phil Gilbert                                  District Judge      j
                                                                             Name of Judge                                  Title of Judge


                                                                                              A   A I               %9&7
Defendant's Mailing Address:

 Same as above
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                                                   ADDITIONAL VIOLATIONS
                                                                                                                  Violation
Violation Number                Nature of Violation                                                               Concluded
Standard # 6                      The defendant failed to notify probation of change of address                    101112006



Special                           The defendant failed to report for substance abuse testing                       11/28/2006
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               Sheet 2- Imprisonment

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                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term o f :
10 months




            The court makes the following recommendations to the Bureau of Prisons:




      @fThe defendant is remanded to the custody of the United States Marshal.
      0 The defendant shall surrender to the United States Marshal for this district:
                 at                                        a.m.          p.m.    on
                 as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Ofice.

                                                                         RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                         to

 at                                                      with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                                BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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             Sheet 3 -Supervised Release


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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
4 8 months


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as detemmed by the court.
     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
       The defendant shall not possess a fuearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this 'udgment imposes a fme or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule od~aymentssheet of this judgment.
          The defeodant must comply with the standardconditionsthat have been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
  1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
     each month;
  3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6 ) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernal~arelated to any controlled substances, except as prescribed by a phystctan;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation offtcer;
 10) the defendant shall pepnit aprobation officer to visit him or her at any time at home or elsewhere and shall permit confiscation ofany
     contraband observed in plain view of the probation officer;
 11) the defendant shall notify the probation officer within seventy-twohours of being arrested or questioned by a law enforcement officer;
 12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the court; and
 13) as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
     record or person4history,or charactepsttc: and shall permit the probation officer to make such not~ficat~ons          and to confirm the
     defendant s compl~ancew ~ t hsuch not~ficatlonrequirement.
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           Sheet 3C - Supervised Release


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                                         SPECIAL CONDITIONS OF SUPERVISION
X The defendant shall spend the first 180 days in a residential re-entry center as directed by probation

X Following his release from the residential re-entry center, the defendant shall spend 90 days of supervision on Home
Confinement with Electronic Monitoringin accordance with district procedures and policies and may be required to pay all
or a portion of the daily costs of electronic monitoring, not to exceed the daily contractual rate.

X The defendant shall submit within 15 days, not to exceed 52 tests in a one year period, to drug urinalysis.

X The defendant shall cooperate in the collection of DNA as directed by the probation officer

X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
search pursuant to this condition.

X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
ten percent of his net monthly income whichever is greater.

X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any requested financial information. The defendant is advised that the probation office may share financial
information with the Financial Litigation Unit.

X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
immediately notify the probation officer of the receipt of any indicated monies.

X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence from all
alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
costs of counseling.
